Case 23-11388-CTG   Doc 42-4   Filed 09/11/23   Page 1 of 8




                       Exhibit D
             Case 23-11388-CTG              Doc 42-4       Filed 09/11/23         Page 2 of 8




            CROSS COLLATERAL, CROSS DEFAULT, AND GUARANTY AGREEMENT

        THIS AGREEMENT is effective this Lit' day of August, 2020, and is entered into by and arnonil -
Ally Financial inc., a Delaware corporation and Ally Bank (Ally Capital in Hawaii, Mississippi,
IVIontana and New Jersey), a Utah state-chartered bank, each with a local business address at 3885
Crestwood Parkway Suite 400, Duluth, GA 30096, (together with Ally Financial Inc., the "Ally Parties"),
and the entities and individuals listed below (collectively the "Dealership Parties"):

A.      Off Lease Only LLC, a Florida limited liability company, located at 1200 S. Congress Ave.,
        West Palm Beach, FL 33406.

                                                   Recitals:

A.       One or more of the Ally Parties have made loans and advances to some or all of the Dealership
         Parties, which are affiliated and share a close business nexus.
B.       One or more of the Ally Parties may make additional loans, advances, and other extensions of
         credit to sorne or all of the Dealership Parties, or continue to extend credit to one or more of the
         Dealership Parties, if the Dealership Parties agree to provide additional security by cross-
         collateralizing, cross-defaulting, and guarantying all of said existing, proposed and future loans,
         advances, and extensions of credit.
C.       It is the intention of the Dealership Parties and the Ally Parties that all of the Dealership Parties'
         assets which one or more of the Ally Parties now has, or may hereafter obtain, a lien on or
         security interest in, secures payment and performance for all current and future loans, advances,
         and extensions of credit made by the Ally Parties to some or all of the Dealership Parties.
D.       It is the intention of the Dealership Parties and the Ally Parties that any default in the payrnent or
         performance of any obligation of any of the Dealership Parties to any of the Ally Parties, at the
         option of one or more of the Ally Parties, will constitute a default of all then-existing obligations
         of all Dealership Parties to the Ally Parties.
E.       It is the intention of each of the Dealership Parties individually to guaranty the performance and
         payment of Obligations of every other of the Dealership Parties.
                                                 Agreement:
For good and valuable consideration, the receipt and sufficiency of which are acknowledged, including
the inducement of each of the Ally Parties, in its sole discretion, to extend credit or continue existing
financial accommodations to the Dealership Parties, it is agreed as follows:
1) DEFINITIONS: As used in this Agreement, the terms listed below have the following meaning:
     a) Obligation(s) means any liability, ndebtedness, or obligation of every kind and nature, now
         existing or hereafter arising, whether created directly, indirectly, or acquired by assignment,
         whether matured or unmatured, owed by any one or more of the Dealership Parties to one or more
         of the Ally Parties, any successor, assign, subsidiaiy, or affiliate of the Ally Parties and any cost
         or expense. including without limitation reasonable attorneys fees, incurred in the collection or
         enforcement of this Agreement or any obligation of any one or more of the Dealership Parties.
     b) Security Agreement(s) means any existin2 or future agreement between one or more of the
         Dealership Parties and one or more of the Ally Parties which creates or provides for a security
         interest in or lien upon any of the assets or property (tangible, intangible, real, or personal) of any
         of the Dealership Parties. including but not limited to this Agreement, wholesale floorplan
         agreements (i.e., Wholesale Security Agreement or -Inventory Financing and Security
         Agreement), other security agreements, deeds of trust and mortgages.


                                                       1
CCCDG-A2 (7/19)
             Case 23-11388-CTG            Doc 42-4        Filed 09/11/23        Page 3 of 8




    c) Financing Accommodation(s) rneans the Security Agreement(s) and any and all other agreements
        evidencing an Obligation.
2) CROSS-COLLATERALIZATION: To secure payment and performance of all Obligations, each of
   the Dealership Parties grants to each of the Ally Parties a continuing security interest in all collateral
   in which one of the Ally Parties now has a security interest, and each of the Dealership Parties agrees
   that any future grant of a security interest in any assets of any one of the Dealership Parties to one of
   the Ally Parties will be deemed a grant to the other of the Ally Parties. Each of the Dealership Parties
   agrees that either or both of the Ally Parties are authorized to file financing statements, mark chattel
   paper, notify account debtors, note liens on docurnents of title, and take all other actions necessary to
   establish, confirm, and maintain a perfected security interest in such existing and future collateral.
   Each of the Dealership Parties agrees that all collateral now or hereafter subject to a security interest
   or lien of one or rnore of the Ally Parties pursuant to any or all of the Security Agreements secures
   any and all Obligations, including Obligations subsequently assigned to one of the Ally Parties by the
   other of the Ally Parties or by a third party, and subject to applicable law, each of the Ally Parties
   rnay apply, in its sole, absolute discretion, proceeds of any collateral to any of the Obligations of any
   of the Dealership Parties.
3) CROSS DEFAULT: In addition to and not in substitution for any provisions in any of Financing
   Accommodations, it is agreed that any default or breach by any of the Dealership Parties in the
   payment or performance under any of the Financing Accommodations will, at the option of the Ally
   Parties, constitute a default under each Financing Accommodation.
4) GUARANTY:
    a) All Dealership Parties, jointly and severally, unconditionally guarantee the performance and
        payment of all Obligations owing by any of the Dealership Parties to any of the Ally Parties,
        including Obligations subsequently assigned to one of the Ally Parties by the other of the Ally
        Parties or by a third party. Each of the Dealership Parties waives and dispenses with notice of
        acceptance of this guaranty; notice of non-payment or non-performance; notice of amount of
        indebtedness outstanding at any time; protests; dernands; and prosecution of collection,
        foreclosure, and possessory remedies. Each of the Dealership Parties waives any right to require
        any of the Ally Parties to institute suit or otherwise proceed against other persons or other
        Dealership Parties; to advise the Dealership Parties of the results of any collateral checks or
        examinations; to require any or all of the Dealership Parties to comply with the Financing
        Accommodations; or, to proceed against or exhaust any security. Any liability of the Dealership
        Parties hereunder will not be affected by, nor will it be necessaiy to procure the consent of any of
        the Dealership Parties or give any notice in reference to: the release by the Ally Parties of any
        one or more of the Dealership Parties from this Agreement or any other agreement; any
        settlement, or variation of terms of any obligation of any of the Dealership Parties, or of a
        guarantor or any other interested person, by operation of law or otherwise; nor by failure to file,
        record, or register any security document. Each of the Dealership Parties recognizes that the Ally
        Parties may utilize various means of attempting to verify compliance with the credit terms by any
        borrower under any of the Financing Accomrnodations, including periodic collateral checks and
        examination of books and records, and expressly agrees that such steps are for the sole benefit of
        the Ally Parties and the adequacy of such checks and examinations will not be considered as a
        defense to or mitigation of liability hereunder. Each of the Dealership Parties acknowledges and
        agrees that this guaranty is for a commercial obligation and not a consurner obligation which is
        primarily for personal, farnily. or household purposes. Each of the Dealership Parties authorizes
        the Ally Paifies, from tirne to time, to investigate any financial information provided and to
        examine or review such party's credit history (including obtaining a credit report) and agrees to
        provide the Ally Parties with financial statements satisfactory to the Ally Parties upon request.
        This is an absolute. continuing payment guaranty and remains in effect as to each of the

                                                      2
CCCDG-A2 (7/19)
             Case 23-11388-CTG             Doc 42-4        Filed 09/11/23        Page 4 of 8




         Dealership Parties until discharged pursuant to the terms of this Agreernent or in writing by the
         Ally Parties. However, a single one of the Dealership Parties can terminate its own guaranty by
         sending written notice of its intent to the Ally Parties, which termination is effective forty-eight
         (48) hours after receipt by both of the Ally Parties of the written termination notice; provided,
         however, that such terrnination will not operate to release such party from liability hereunder with
         respect to any Obligations incurred prior to the effective date of such termination notice. In order
         to be effective, notice of termination must be sent as outlined in numbered paragraph 8, below, to
         the Ally Parties at the address listed above and also to: Ally Bank and Ally Financial inc., 500
         Woodward Avenue, MC: MI-01-16-RISK, Detroit, Michigan 48226, Attn.: Senior Vice
         President, Commercial Credit Operations. Except as noted in this Agreement, the Ally Parties
         make no promises to the Dealership Parties to induce execution of this guaranty provision.
    b) Each of the Dealership Parties acknowledges that: it is such Dealership Party's responsibility to
       review the Financing Accornrnodations and any other documents governing the guaranteed
       obligations before signing this Agreernent and to obtain and review any future documentation that
       may affect the aggregate obligations of the Dealership Parties to the Ally Parties; it has
       knowledge of and adequate means to obtain the other Dealership Parties financial inforrnation;
       and, the nature and amount of the guaranteed obligations may increase without notice to such
       Dealership Party. Each of the Dealership Parties expressly waives any duty of either of the Ally
       Parties to disclose to such Dealership Party any information related to any other Dealership
       Party's ability to repay the guaranteed obligations, including, without limitation, the state of any
       other Dealership Party's business, its condition (financial, operating, or otherwise) or any facts or
       circumstances that may affect a Dealership Party's risks under or related to this guaranty.
    c) No act or thing need occur to establish the liability of any of the Dealership Parties hereunder,
       and no act or thing, except full payment and discharge of all Obligations, will in any way
       exonerate any of the Dealership Parties or modify, reduce, limit, or release the liability of any of
       the Dealership Parties.
    d) The Ally Parties may in their discretion apply to the Obligations any sums received by, or
       available to, them on account of the Obligations, out of the collateral security, or any other source
       of payment. Such application will not reduce, affect, or impair the liability of the Dealership
       Parties.
    e) Each of the Dealership Parties waives any and all defenses, claims, and discharges of any of the
       other Dealership Parties pertaining to the Obligations, except the defense of discharge by
       payment in full. No Dealership Party will assert, plead, or enforce against either of the Ally
       Parties any defense of waiver, release, statute of limitations, res judicata, statutes of frauds, fraud,
       incapacity, rninority, usury, illegality, or unenforceability which may be available to another
       Dealership Party in respect of any Obligation, or any setoff available against either of the Ally
       Parties by any other Dealership Party, whether or not on account of a related transaction.
    0 Each Dealership Party expressly agrees that it will be and will remain liable, to the fullest extent
        permitted by applicable law, for any deficiency remaining after foreclosure of any mortgage or
       security interest securing the Obligations, whether or not the liability of any other obligor for such
        deficiency is discharged pursuant to statute or judicial decision. Further, each Dealership Party
       expressly waives any condition precedent that may be required of either or both of the Ally
        Parties under applicable law prior to proceeding with any action to recover any deficiency
        remaining after foreclosure.
5) EFFECT ON OTHER AGREEMENTS: This Agreement constitutes an amendment of and
   supplement to each of the Financirw Accommodations now or hereafter executed; augments and is in
   addition to, and is not in substitution for, any provisions of any Financin2 Accommodation, includinil
   any other Cross Collateral. Cross Default and Guaranty Agreements between or among any of the

                                                      3
CCCDG-A2 (7/19)
             Case 23-11388-CTG             Doc 42-4        Filed 09/11/23        Page 5 of 8




     Dealership Parties and either or both of the Ally Parties; and does not otherwise limit or affect the
     rights and remedies of any of the Ally Parties under any such Financing Accommodation.
6)   FUTURE LOANS: Each of the Ally Parties may, in its sole and absolute discretion, make additional
     loans and other financing accommodations to any of the Dealership Parties, all of which will be
     subject to the terms of this Agreement. Notwithstanding anything to the contrary, any future change
     in the terms of or indebtedness owed by any of the Dealership Parties to one or more of the Ally
     Parties requires the written consent of the applicable Ally Party.
7)   WAIVER OF TRIAL BY JURY: Each of the Dealership Parties waives trial by jury in any action or
     proceeding brought by any of the Ally Parties; in any counterclaim asserted by any of the Ally Parties
     against one or more of the Dealership Parties; and, in any matter connected in any manner with this
     Agreement or any Financing Accommodation.
8) NOTICES: Any notices or other communications required or permitted to be given by this
   Agreement must be in writing and rnust be personally delivered, mailed by prepaid certified,
   registered, or first class mail, or delivered by a nationally recognized overnight courier, to the Ally
   Parties or to the Dealership Parties to whom such notice or communication is directed at the addresses
   set forth above in this Agreement. Notwithstanding anything herein to the contrary, any notice or
   other communication will be deemed to have been given (whether actually received or not) on the day
   it is personally delivered or, if mailed or delivered by overnight courier, on the third (3'd ) day after it
   is mailed or delivered as aforesaid. Any of the Ally Parties or of the Dealership Parties may change
   its address for purposes of this document by giving ten (10) days prior written notice of such change
   to the others pursuant to the terms of this clause.
9) NO OTHER UNDERSTANDING: The Dealership Parties acknowledge that the Ally Parties have
   made no promises to induce execution of this Agreement except as set forth herein; that there are no
   other agreements or understandings, either oral or in writing, affecting this Agreement; and nothing in
   this Agreement may be considered a waiver by any of the Ally Parties of any existing or future
   defaults by any of the Dealership Parties of any Financing Accommodation. Modifications or
   amendments to this Agreement other than a release or termination of obligations under this
   Agreement can only be made in a writing executed by all of the Ally Parties and all of the Dealership
   Parties.
10) SUCCESSORS AND ASSIGNS: The provisions of this Agreement bind and inure to the benefit of
    the heirs, administrators, successors, and assigns of each of the Dealership Parties and each of the
    Ally Parties.
11) SEVERABIL1TY: Any provision of this Agreement prohibited by law is ineffective only to the
    extent of the prohibition without invalidating the remaining provisions of this Agreement.
12) COUNTERPARTS: This Agreement may be executed in multiple counterparts and all of such
    counterparts taken together will be deemed to constitute one and the sarne agreement. Any
    electronically placed or delivered (e.g., via fax or email) signatures of the parties constitute and are
    deemed original signatures for all purposes.




                                                      4
CCCDG-A2 (7/19)
                        Case 23-11388-CTG         Doc 42-4    Filed 09/11/23       Page 6 of 8




                                                       DEALERSHIP:

                                                       Off Lease Only LLC,
                                                       a Florida limited liability compan


                                                       By:
                                                                   a Maria C • deb-Cook, Vice President

STATE OF FLORIDA
                                           : SS
COUNTY OF

         The foregoing instrument was acknowledged before me by means of physical presence this Pik'
day of August, 2020, by Ejola Mari hristlieb-Cook, Vice President of Off Lease Only LLC, a Florida
limited liability company. She     is personally known to me or [ 1 has produced a driver's license as
identification.

                                                             Notary Public:
[Notary Seal]

                                                             Sign:
                                                             Print Na           (jc-bny;   7- •
                         JASMIN M VEGA                       My Com     ssion Expires:
 :=11?!. • ••••
                      MY COMMISSION # GG147563                                        /OA 44)1-
        •         F    EXPIRES October 01, 2021




                                                        5
CCCDG-A2 (7/19)
                  Case 23-11388-CTG      Doc 42-4        Filed 09/11/23        Page 7 of 8




                                                      ALLY PARTIES:

                                                      Ally Financial Inc.,
                                                      a Delaware corporation


                                                      By:
                                                      Name: Iii.o6trer Not,--11
                                                      Its: Authorized Representative

STATE OF GEORGIA
                                       : SS
COUNTY OF           G1A/ I is/iv-err
         The foregoing instrument was acknowledged before me by means of physical presence this I 2-
clay of August, 2020 by e3-66-21. AforTH        , Authorized Representative, of Ally Financial Inc., a
Delaware corporation. He/She [ 1is personally known to me or [ t-r<s produced a driver's license as
identification.

                                                        Notary Public:
[Notary Seal]

                                                        Sign:
                                                        Print Name:   SUNLC—
                                                        My Commission Expires: Ogqi c72,a2 2_




                                                  6
CCCDG-A2 (7/19)
                  Case 23-11388-CTG          Doc 42-4   Filed 09/11/23      Page 8 of 8




                                                    ALLY PARTIES:

                                                    Ally Bank,
                                                    a Utah state-chartered bank


                                                    By:
                                                    Name: R.- Raul— ht put ink
                                                    Its: Authorized Representative

STATE OF GEORGIA

COUNTY OF           . 14[1\11VEi )

         The foregoing instrument was acknowledged before me by means of physical presence this
day of August, 2020 by -Roacce T        rörZ_M Authorized Representative of Ally Bank, a Utah state-
chartered bank. He/She [ 1is personally known to me or [N. ,h--a7s produced a driver's license as
identification.

                                                        Notary Public:
[Notary Seal]                ,00ett C0,0,
                            C'   Notary L.
                             Public                     Sign:               '
                           0 Ex .res eN9                Print Name: 5\ski
                           CP PI mele
                         /5,i
                            2/6-2v                      My Commission Expires:
                           C'    F G•

4828-6383-4052 vl [49572-75316]




                                                   7
CCCDG-A2 (7/19)
